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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA



  UNITED STATES OF AMERICA

                      v.                                 No. 21-cr-123 (PLF)


  VITALI GOSSJANKOWSKI,
                    Defendant.


        DEFENDANT’S NON-OPPOSITION TO DISMISSAL WITH PREJUDICE
                 AND REQUEST FOR EXPEDITED RULING

        Defendant Vitali GossJankowski, through undersigned counsel, hereby provides notice of

his non-opposition to the Government’s recently-filed Motion to Dismiss with Prejudice, ECF

#230.

        In addition, because Mr. GossJankowski’s sentencing hearing is fast approaching, and

defense counsel must consult with expert psychiatrists, mitigation specialists, and American Sign

Language interpreters to properly prepare a sentencing memorandum and prepare for sentencing,

the defense respectfully requests that the Court rule on the Government’s motion expeditiously.


January 22, 2024                                    Respectfully submitted,

                                                    /s/ Matthew J. Peed
                                                    Matthew J. Peed (D.C. Bar No. 503328)
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                                                    Counsel for Defendant Vitali Gossjankowski
